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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF MISSOURI
                                    EASTERN DIVISION


 UNITED STATES OF AMERICA,                     )
                                               )
        Plaintiff,                             )
                                               )
 v.                                            )       No. 4:23 CR 714 RWS/NCC
                                               )
 ALAN BILL,                                    )
 a/k/a Vend0r                                  )
 a/k/a KingdomOfficial                         )
                                               )
        Defendant.                             )

                   GOVERNMENT’S RESPONSE IN OPPOSITION TO
                 DEFENDANT’S MOTION FOR BILL OF PARTICULARS

        COMES NOW, the United States of America, by and through its attorneys Sayler A.

 Fleming, United States Attorney for the Eastern District of Missouri, and Kyle T. Bateman,

 Assistant United States Attorney for said District, and responses in opposition to the defendant’s

 Motion for Bill of Particulars (Doc. 74).

        The defendant seeks that the Court direct the Government to submit a bill of particulars

 pursuant to Rule 7(f) of the Federal Rules of Criminal Procedure. Rule 7(f) states:

                (f) BILL OF PARTICULARS. The court may direct the government to file a bill
                of particulars. The defendant may move for a bill of particulars before or
                within 14 days after arraignment or at a later time if the court permits. The
                government may amend a bill of particulars subject to such conditions as
                justice requires.

        “An indictment is legally sufficient on its face if it contains all essential elements of the

 offense charged, fairly informs the defendant of the charges against which he must defend, and

 alleges sufficient information to allow a defendant to plead a conviction or acquittal as a bar to a


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 subsequent prosecution.” United States v. Wessels, 12 F.3d 746, 750 (8th Cir. 1993) (internal

 citations omitted). A defendant may move for a bill of particulars pursuant to Fed. R. Crim. P.

 7(f) if he “believes that an indictment does not provide enough information to prepare a defense.”

 United States v. Livingstone, 576 F.3d 881, 883 (8th Cir. 2009).

        However, a bill of particulars “is not a discovery tool or a device allowing the defense to

 preview the government’s theories or evidence.” United States v. Hester, 917 F.2d 1083, 1084

 (8th Cir. 1990). Nor does a bill of particulars provide an avenue for a defendant to receive “a

 detailed disclosure of the evidence that [the Government] will present at trial.” Livingston, 576

 F.3d at 883. Even where such evidence is not specifically alleged in the Indictment, a bill of

 particulars is not necessary when such information has been produced in discovery. See U.S. v.

 Rettinger, 2006 WL 3193701, at *6 (D.N.D. Nov. 1, 2006) (holding bill of particulars “would

 serve no legitimate purpose” where defendant could glean existence of relevant information from

 discovery materials).

        The Indictment in this case is 16 pages long and contains a description of Kingdom Market;

 explains how Kingdom Market operated, including the goods and services for sale and the

 usernames of the defendant and several co-conspirators; describes specific unlawful transactions

 of controlled substances, identity information and a United States passport; and describes how

 Kingdom Market and the defendant utilized cryptocurrency to launder the proceeds of its criminal

 transactions. The indictment contains all essential elements of the offenses charged and fairly

 informs the defendant of the charges against which he must defend.

        On two separate occasions following the defendant’s initial appearance in the Eastern

 District of Missouri, once with the defendant present, the Government conducted a reverse proffer


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 to present the defense with its case. On each occasion, the Government offered to answer any

 questions of the defense. To date, the Government has made two productions of discovery to the

 defendant. These productions consist of 392,932 pages of evidence. 1 The Government is

 presently waiting for the defendant to provide a hard drive to the Government so that the

 Government can make its third production to the defendant. The Government anticipates that the

 third production will include bates stamped documents numbered to page 1,049,501.

        Notwithstanding, the defendant seeks that the Government submit a bill of particulars that

 contains detailed information about, inter alia, the following: specific dates of any and all

 statements and events that comprise the alleged conspiracies; the names of all co-conspirators and

 the specific date, place, and time that they joined the conspiracies; the specifics of the

 Government’s theory as to the defendant’s mens rea in joining the conspiracies; specific

 cryptocurrency transactions and how the Government traced them; specific Reddit messages

 regarding the purchase of graphic design services; and a description of how “the Government

 verified that defendant’s IP addresses, Google account or crypto wallets were not abused by

 another individual who pretended to be Defendant in order to avoid criminal prosecution and

 conviction.” Doc. 74, at 3.

        The defendant is plainly using this motion for a bill of particulars as a discovery tool and

 to improperly ascertain the Government’s theories of its case. The defendant even seeks that the

 bill of particulars include a statement as to how the Government will refute the defendant’s



 1 On the afternoon of April 4, 2024, defense counsel notified the Government that it had accessed
 Production 2, which consists of approximately 9,000 pages of materials. Approximately 12 hours
 later, the instant motion was filed.


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 apparent alternate perpetrator defense. Such request is patently ridiculous and runs far afoul of the

 purpose of Rule 7(f).2 Similarly, the defendant wrongly suggests that the Government is required

 to allege overt acts as to the charged conspiracies. See United States v. Shabani, 513 U.S. 10, 17

 (1994); Whitfield v. United States, 543 U.S. 209, 211 (2005).

                                          CONCLUSION

        Based on the foregoing, the Government respectfully requests that the Court deny the

 defendant’s request for the Court to order the Government to submit a bill of particulars.



                                               Respectfully submitted,

                                               SAYLER A. FLEMING
                                               United States Attorney

                                               /s/ Kyle T. Bateman
                                               KYLE T. BATEMAN, #996646DC
                                               Assistant United States Attorney
                                               111 S. 10 th Street, Room 20.333
                                               St. Louis, Missouri 63102
                                               (314) 539-2200




 2 The Government notes with growing concern that several of defense counsel’s recent filings are
 rife with misstatements of facts and law. The Government further notes that defense counsel has
 not satisfied the requirements of Local Rule 12.01(F) related to Pro Hac Vice admission.

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                                CERTIFICATE OF SERVICE

        I hereby certify that on April 9, 2024, the foregoing was filed electronically with the
 Clerk of the Court to be served by operation of the Court=s electronic filing system upon the
 following all counsel of record.


                                                /s/ Kyle T. Bateman
                                                KYLE T. BATEMAN, #996646DC
                                                Assistant United States Attorney




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